    Case 1:18-cr-00457-AJT Document 187 Filed 06/06/19 Page 1 of 5 PageID# 1756
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 Case 1:18-cr-00457-AJT Document 187 Filed 06/06/19 Page 3 of 5 PageID# 1758



       $QHYLGHQWLDU\KHDULQJLVDOVRZDUUDQWHGE\WKHFRPSOH[LW\DQGEUHDGWKRIWKHIDFWXDO

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Grand Jury Proceedings #5 Empaneled Jan. 28, 2004)G WK&LU 7KH

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